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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


 HANNAH CRAMER, et al.,

                                         Plaintiffs,
 v.                                                       Case No. 3:18-cv-00039

 ARKESIA, INC. d/b/a CLUB ROUGE, et al.,

                                         Defendants.


          JOINT MOTION FOR APPROVAL OF REVISED CONFIDENTIAL
                SETTLEMENT AGREEMENT AND DISMISSAL OF
            PLAINTIFF’S AMENDED COMPLAINT WITH PREJUDICE

       COMES NOW Plaintiffs Hannah Cramer, Jessica Blakley, Shernell Crutchfield, and Opt-

In Plaintiffs (collectively “Plaintiffs”) and Defendants Arkesia, Inc. d/b/a/ Club Rouge, Circle 2,

Inc. d/b/a Daddy Rabbits, Circle 2, Inc. d/b/a Candy Bar, Imaginary Images, Inc. d/b/a Paper

Moon, BTF3 LLC d/b/a Papermoon, M.G.B., Inc. d/b/a Pure Pleasure, William Andreas Pyliaris,

and and/or any other entities affiliated with or controlled by Arkesia, Inc. d/b/a/ Club Rouge, Circle

2, Inc. d/b/a Daddy Rabbits, Circle 2, Inc. d/b/a Candy Bar, Imaginary Images, Inc. d/b/a Paper

Moon, BTF3 LLC d/b/a Papermoon, M.G.B., Inc. d/b/a Pure Pleasure, and William Andreas

Pyliaris (collectively “Defendants”) (collectively “Parties”), jointly move the Court for an order

approving the agreements between the parties to resolve this case and dismissing Plaintiff’s

Amended Complaint with prejudice.




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                                  Respectfully submitted,

                                  HANNAH CRAMER, JESSICA BLAKLEY,
                                  SHERNELL CRUTCHFIELD, AND OPT-IN
                                  PLAINTIFFS

                                  By:                   /s/
                                  Justin P. Keating
                                  Beans Axelrod, PC
                                  1030 15th Street, N.W. Suite 700
                                  Washington, D.C. 20005
                                  Tel: (202) 328-7222

                                  By:                    /s/
                                  Lloyd R. Ambinder (Pro Hac Vice Admission)
                                  LaDonna Lusher (Pro Hac Vice Admission)
                                  Virginia & Ambinder, LLP
                                  40 Broad Street, 7th Floor
                                  New York, New York 10004
                                  Tel: (212) 943-9080
                                  Counsel for Plaintiffs

                                  ARKESIA, INC. D/B/A CLUB ROUGE,
                                  CIRCLE 2, INC. D/B/A DADDY RABBITS,
                                  CIRCLE 2, INC. D/B/A CANDY BAR,
                                  IMAGINARY IMAGES, INC. D/B/A PAPER
                                  MOON, BTF3, INC. D/B/A PAPERMOON,
                                  MGB., INC. D/B/A PURE PLEASURE,
                                  AND/OR ANY OTHER ENTITIES
                                  AND WILLIAM ANDREAS PYLIARIS

                                  By:     /s/
                                  Thomas M. Lucas (VSB No. 27274)
                                  Kristina H. Vaquera, Esq. (VSB No. 43655)
                                  Milena Radovic, Esq. (VSB No. 91000)
                                  Jackson Lewis, PC
                                  500 E. Main Street, Suite 800
                                  Norfolk, Virginia 23510
                                  Telephone:    (757) 648-1445
                                  Facsimile:    (757) 648-1418
                                  E-mail:       thomas.lucas@jacksonlewis.com
                                                vaquerak@jacksonlewis.com
                                                milena.radovic@jacksonlewis.com
                                  Counsel for Defendants




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                                     Certificate of Service

       I hereby certify that on November 12, 2018, I will electronically file the foregoing with
the Clerk of Court using the CM/ECF system which then send a notification of such filing (NEF)
to opposing counsel as follows:
                             Thomas M. Lucas (VSB No. 27274)
                             Kristina H. Vaquera, Esq. (VSB No. 43655)
                             Milena Radovic, Esq. (VSB No. 91000)
                             Jackson Lewis, PC
                             500 E. Main Street, Suite 800
                             Norfolk, Virginia 23510
                             thomas.lucas@jacksonlewis.com
                             vaquerak@jacksonlewis.com
                             milena.radovic@jacksonlewis.com
                             Counsel for Defendants


                                            HANNAH CRAMER, JESSICA BLAKLEY,
                                            SHERNELL CRUTCHFIELD, AND OPT-IN
                                            PLAINTIFFS


                                            By:                    /s/
                                            Justin P. Keating
                                            Beans Axelrod, PC
                                            1030 15th Street, N.W. Suite 700
                                            Washington, D.C. 20005
                                            Tel: (202) 328-7222
                                            Counsel for Plaintiffs
4847-2790-6423, v. 1




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